Case 1:11-cv-03066-LTB-MEH Document 19 Filed 05/01/12 USDC Colorado Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:11-cv-03066-LTB

  WALTER WAGNER,

                 Plaintiff,

  v.

  SYSTEMS & SERVICES TECHNOLOGIES, INC.,

         Defendant.


                STIPULATION OF DISMISSAL OF CASE WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by

  their respective undersigned attorneys of record, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii) that the

  above-entitled action has been settled, and the parties hereby stipulate to its dismissal on its

  merits with prejudice, with each party to pay his or its own attorneys’ fees and costs, and pray

  that a judgment of dismissal with prejudice and on the merits be entered in the above entitled

  action pursuant hereto.

  Respectfully submitted on May 1, 2012.

  s/ T. A. Taylor-Hunt                                 s/ Louis Leonard Galvis
  T. A. Taylor-Hunt # 31932                            Louis Leonard Galvis (CO Bar No. 32885)
  Law Office of T. A. Taylor-Hunt, LLC                 Sessions, Fishman, Nathan & Israel, LLC
  3773 Cherry Creek North Drive, Suite 575             645 Stonington Lane
  Denver, CO 80209                                     Fort Collins, CO 80525
  Phone: 303-331-3400                                  Telephone: (970) 223-4420
  Facsimile: 303-752-1720                              Facsimile: (970) 223-4490
  E-mail: tath@legalwellness.com                       E-mail: lgalvis@sessions-law.biz

  Attorney for Plaintiff                               Attorneys for Defendant
  Walter Wagner                                        Systems & Services Technologies, Inc.
